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         13                              UNITED STATES DISTRICT COURT
         14                               EASTERN DISTRICT OF CALIFORNIA
         15 RALPH COLEMAN,                                        Case No. Civ S 90-0520 LKK-JFM
         16                 Plaintiffs,

         17          v.
               ARNOLD SCHWARZENEGGER, et al.,
         18
                            Defendants.
         19
         20                                                       Case No. Civ. S-94-0671 LKK/GGH
               JERRY VALDIVIA, et al.,
         21                                                       PLAINTIFFS’ NOTICE OF MOTION AND
                            Plaintiffs,                           MOTION FOR LEAVE TO FILE
         22                                                       CONSOLIDATED MOTION AND
                     v.                                           REQUEST FOR MODIFICATION OF
         23 ARNOLD SCHWARZENEGGER, et al.,                        PROTECTIVE ORDERS
         24          Defendants.                                  Hearing Date:   July 25, 2008
                                                                  Time:           10:00 a.m.
         25                                                       Location:       Courtroom 4
                                                                  Judge:          Hon. Lawrence K. Karlton
         26
         27
         28
                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE CONSOLIDATED MOTION AND
                 REQUEST FOR MODIFICATION OF PROTECTIVE ORDERS - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671
[219498-2]                                             LKK/GGH
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              1                                          NOTICE OF MOTION
              2          TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
              3          PLEASE TAKE NOTICE THAT on July 25, 2008, Coleman and Valdivia Plaintiffs,
              4   through their counsel of record, will and hereby do move for an order granting Plaintiffs leave
              5   to file jointly in Valdivia v. Schwarzenegger and Coleman v. Schwarzenegger their Motion For
              6   Injunctive Relief Requiring Timely Access to Inpatient Psychiatric Hospitalization. Plaintiffs
              7   further request an order modifying the protective orders in these two cases to permit review by
              8   court personnel, the special masters and their staffs, plaintiffs’ counsel and personnel, experts
              9   and consultants, of confidential information produced in either of the two cases.
             10          This Motion is based on this Notice of Motion and Motion, the Memorandum of Points
             11   and Authorities filed herewith, the Declaration of Michael W. Bien in Support of this Motion,
             12   Plaintiffs’ Notice of Motion and Motion for Injunctive Relief Requiring Timely Access to
             13   Inpatient Psychiatric Hospitalization, the Memorandum in Support of Plaintiffs’ Notice of
             14   Motion and Motion for Injunctive Relief Requiring Timely Access to Inpatient Psychiatric
             15   Hospitalization, the Declarations of Jane E. Kahn, Ernest Galvan, and Lori Rifkin in Support of
             16   Plaintiffs’ Notice of Motion and Motion for Injunctive Relief Requiring Timely Access to
             17   Inpatient Psychiatric Hospitalization, the pleadings and orders on file in the above-captioned
             18   matters, and any oral argument or evidence permitted at any hearings on this motion.
             19           This Motion is also being filed concurrently with Plaintiffs’ Notice of Motion and
             20   Motion For Injunctive Relief Requiring Timely Access to Inpatient Psychiatric Hospitalization.
             21
             22   Dated: June 25, 2008                                   Respectfully submitted,
             23
             24                                                          /s/ Michael W. Bien
             25                                                          Rosen, Bien & Galvan
                                                                         Attorneys for Plaintiffs
             26
             27
             28
                   PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE CONSOLIDATED MOTION AND REQUEST FOR MODIFICATION
                                                             OF PROTECTIVE ORDERS
[219498-2]                                                  NO.: CIV S 90-0520 LKK-JFM
